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 Fill in this information to identify your case and this filing:
 Debtor 1               Helen                   J                        Drouillard
                        First Name              Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                     Check if this is an
                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                    What is the property?                              Do not deduct secured claims or exemptions. Put the
7005 Hazeltine Circle, Lakeland FL                      Check all that apply.                              amount of any secured claims on Schedule D:
                                                            Single-family home                             Creditors Who Have Claims Secured by Property.
33810                                                   
                                                           Duplex or multi-unit building                  Current value of the            Current value of the
Debtor's former residence                                   Condominium or cooperative                     entire property?                portion you own?
                                                        
                                                           Manufactured or mobile home                                $227,000.00                 $227,000.00
                                                           Land
Polk County
County                                                     Investment property                            Describe the nature of your ownership
                                                            Timeshare                                      interest (such as fee simple, tenancy by the
                                                                                                          entireties, or a life estate), if known.
                                                           Other

                                                        Who has an interest in the property?
                                                                                                           Fee simple
                                                        Check one.

                                                           Debtor 1 only                                     Check if this is community property
                                                            Debtor 2 only                                      (see instructions)
                                                        
                                                           Debtor 1 and Debtor 2 only
                                                           At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................            $227,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes




Official Form 106A/B                                                  Schedule A/B: Property                                                               page 1
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Debtor 1         Helen J Drouillard                                                                Case number (if known)


3.1.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Chevrolet                    Check one.                                         amount of any secured claims on Schedule D:
                                                          Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                   Impala                       
                                                         Debtor 2 only                           Current value of the                   Current value of the
Year:                    2012                                                                     entire property?                       portion you own?
                                                         Debtor 1 and Debtor 2 only
Approximate mileage: 55,000                               At least one of the debtors and another
                                                                                                             $2,150.00                             $2,150.00
Other information:
2012 Chevrolet Impala (approx. 55,000                    Check if this is community property
miles)                                                    (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.........................................................               $2,150.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe..... Furniture, linens, appliances, other household goods                                                                  $3,000.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe..... 4 older TVs, 1 computer                                                                                                 $100.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe.....

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe..... Basic clothing                                                                                                          $100.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe..... Miscellaneous costume jewelry                                                                                            $25.00

Official Form 106A/B                                                Schedule A/B: Property                                                               page 2
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Debtor 1         Helen J Drouillard                                                                                               Case number (if known)

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

          No
          Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you
    did not list

          No
          Yes. Give specific
           information.............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................                                         $3,225.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.................................................................................................................................... Cash: ..........................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes............................                    Institution name:

             17.1.      Checking account:                     Checking account Chase xxxx2716
                                                              Social Security and pension funds ONLY                                                                                            $1,017.76
             17.2.      Checking account:                     Checking account Honor Credit Union xxxx001
                                                              Funds are frozen by the credit union                                                                                                  $23.25
             17.3.      Checking account:                     Checking account Honor Credit Union xxxx011, was for flea
                                                              market business with deceased husband--business is inactive
                                                              Funds are frozen by the credit union                                                                                                   $0.49
             17.4.      Checking account:                     Checking account Mid Florida Checking xxxx8501                                                                                        $13.64
             17.5.      Savings account:                      Savings account Mid Florida xxxx8850                                                                                                   $0.00
             17.6.      Other financial account: Other financial account Honor Credit Union xxxx000
                                                              Funds are frozen by the credit union                                                                                                   $0.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes............................     Institution or issuer name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 3
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Debtor 1         Helen J Drouillard                                                                  Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them..........................     Name of entity:                                                      % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them..........................     Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:       Institution name:
                                             Pension plan:          Pension plan, Teacher's                                                        Unknown
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes............................ Issuer name and description:
                                              Brighthouse annuity                                                                                  $2,403.35
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes............................    Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific     John E. Drouillard Trust--listed out of an abundance of caution, debtor is                                          $0.00
           information about them uncertain the trust is still valid
                                              ASSETS:
                                              7005 Hazeltine Circle, Lakeland FL 33810
                                              Life insurance policy
                                              House is encumbered by mortgage and tax liens
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 4
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Debtor 1        Helen J Drouillard                                                            Case number (if known)

Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                              Federal:
           about them, including whether
           you already filed the returns                                                                               State:
           and the tax years......................
                                                                                                                       Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

          No
          Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

          No
          Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                             Beneficiary:                      Surrender or refund value:

                                                Prudential life insurance policy,
                                                payout value $2290.82                     Children                                               $0.00
                                                Mony life insurance policy, current
                                                surrender value $16,585.66                Children                                               $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

          No
          Yes. Give specific information Chase checking account, balance of funds from mother's                                                $35.00
                                                     succession, debtor has 1/4 interest, balance is $132.00
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

          No
          Yes. Describe each claim........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

          No
          Yes. Describe each claim........

35. Any financial assets you did not already list

          No
          Yes. Give specific information


Official Form 106A/B                                                 Schedule A/B: Property                                                       page 5
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Debtor 1         Helen J Drouillard                                                                              Case number (if known)

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................              $3,493.49


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

          No
          Yes. Describe..

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe..

41. Inventory

          No
          Yes. Describe..

42. Interests in partnerships or joint ventures

          No
          Yes. Describe..... Name of entity:                                                                                     % of ownership:

43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
                 Yes. Describe.....
44. Any business-related property you did not already list

          No
          Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................                   $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 6
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Debtor 1         Helen J Drouillard                                                                              Case number (if known)

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

          No
          Yes....

48. Crops--either growing or harvested

          No
          Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes....

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes....

51. Any farm- and commercial fishing-related property you did not already list

          No
          Yes. Give specific
           information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                   $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
          Yes. Give specific information.
            2 burial plots in Michigan                                                                                                                               $1,000.00

54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                    $1,000.00




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 7
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Debtor 1          Helen J Drouillard                                                                                        Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................           $227,000.00

56. Part 2: Total vehicles, line 5                                                                                   $2,150.00

57. Part 3: Total personal and household items, line 15                                                              $3,225.00

58. Part 4: Total financial assets, line 36                                                                          $3,493.49

59. Part 5: Total business-related property, line 45                                                                        $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                  $1,000.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                              $9,868.49            property total                  +     $9,868.49


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................       $236,868.49




Official Form 106A/B                                                                Schedule A/B: Property                                                                           page 8
